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                                                   THE HONORABLE THOMAS S. ZILLY




                              U.S. DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON

Strike 3 HOLDINGS, LLC, a Delaware
corporation,
                                                 NO. 2:17-cv-01731-TSZ
                         Plaintiff,
                                                 [PROPOSED] ORDER COMPELLING
                                                 THE PRODUCTION OF THE IPP
       vs.
                                                 SOURCE CODE
JOHN DOE, subscriber assigned IP
                                                 Note on Motion Calendar: 06/12/2019
address 73.225.38.130,

                         Defendant.


JOHN DOE subscriber assigned IP
address 73.225.38.130,

                         Counterclaimant,

       vs.

Strike 3 HOLDINGS, LLC,

                         Counterdefendant.




       Whereas this Court issued an ORDER allowing the service of a Rule 45 Subpoena on

Counsel for Strike 3 Holdings, LLC to produce IPP Source Code.

       Whereas, Counsel for JOHN DOE subscriber assigned IP address 73.225.38.130 served

such a subpoena on May 7, 2019 for production of the code on June 6, 2019.




[PROPOSED] ORDER COMPELLING THE PRODUCTION
OF THE IPP SOURCE CODE - 1
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       Whereas Strike 3 Holdings, LLC nor IPP did not timely object to this Subpoena.

Therefore:



       IT IS ORDERED:



       Within ten (10) days of this Order, Counsel for Strike 3 Holdings, LLC shall produce all

of the IPP Source Code and supporting documentation, that was used during the period of

claimed infringement in this matter.




                                       SO ORDERED:




                                       _____________________

                                       United States District Court




[PROPOSED] ORDER COMPELLING THE PRODUCTION
OF THE IPP SOURCE CODE - 2
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